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                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA


JOHN CANNING
        Plaintiff,

      v.                                      CIVIL ACTION NO.
                                              1:22-cv-339-TWT

SHIRLEY JACKSON, et. al.,
         Defendants.


    PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’
                    MOTION TO DISMISS

      Supervisory Defendants Bobbitt, Wicker, Edwards, Ward, Holt, Toole,

Shepard, and Sauls, pursuant to Fed. R. Civ. P. 8, 10, and 12(b)(6), moved to

dismiss Mr. John Canning’s complaint, arguing that the complaint is improper,

that the complaint fails to state a claim upon which relief can be granted, and

that Defendants are entitled to qualified immunity. ECF Dkt. No. 14. For the

reasons stated herein, Defendants’ motion to dismiss should be denied.

                               BACKGROUND

      Mr. Canning timely filed the underlying complaint alleging that these

particular Defendants are liable for damages he suffered as a result of being

violently stabbed in the face by another inmate upon rejecting sexual violence

by that inmate, causing a severed artery, being denied appropriate medical care

for his resulting injury, and being denied medical care as he nearly bled to death



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when he was abandoned in a solitary confinement cell instead of being rendered

prompt emergency treatment. Mr. Canning suffered serious blood loss and

physical and psychological injuries as a result of this ordeal.

      The supervisory defendants who move to dismiss are sued in their

supervisory capacity for deliberate indifference toward a serious medical need

(Counts II and III) and for deliberate indifference toward a substantial risk of

harm (Count IV), where they were aware of numerous attacks and killings of

the nature that Mr. Canning suffered (Compl. At ¶ 62-65), that inmates had

access to weapons (Id. at ¶ 66-75), knew that inmates were not being properly

restricted in their movement (Id. at ¶ 76-81), that the prison was chronically

understaffed (Id. at ¶ 82-87), that medical staff were ignoring serious medical

needs generally (Id. at ¶ 88-89) and that they were ignoring the serious medical

needs of individuals left in segregation or solitary confinement (Id. at ¶ 90-97).

Mr. Canning substantiates this record by citing to prior litigation, media,

reports, audits, a pending Department of Justice investigation, and research

from advocacy organizations, and expects to further establish the facts of

Defendants’ awareness through discovery. Id. at ¶ 59-61.

A) Plaintiff’s Complaint is Properly Pled.

      Defendants argue that the complaint contains multiple types of “shotgun

pleading” citing Weiland v. Palm Beach County Sheriff’s Office, 792 F.3d 1313,

1321-1323 (11th Cir. 2015). ECF Dkt. 14 at 2. In fact, 11th Circuit law

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generally and the holding in Weiland specifically – a case in which the

complaint was reinstated despite allegedly containing shotgun pleading in

violation of Rules 8 and 10 – are contrary to Defendants’ position.

      “The unifying characteristic of all types of shotgun pleadings is that they

fail to one degree or another...to give the defendants adequate notice of the

claims against them and the grounds upon which each claim rests.” Weiland,

supra at 1323. Dismissal under Fed. R. Civ. P. 8(a)(2) and 10(b) is “appropriate

where ‘it is virtually impossible to know which allegations of fact are intended

to support which claim(s) for relief.” Weiland, supra at 1325 (citing Anderson v.

District Bd. Of Trustees of Cent. Fl. Comm. College, 77 F.3d 364, 366 (11th Cir.

1996) (emphasis in original). A defendant’s lack of request for a more definite

statement under Fed. R. Civ. P. 12(e) and the lack of any indication from

Defendants of difficulty understanding the allegations against them both weigh

against dismissal for shotgun pleading. See, e.g. Weiland, supra at 1324 (“This

is not a situation where a failure to more precisely parcel out and identify the

facts relevant to each claim materially increased the burden of understanding

the factual allegations underlying each count. This may explain why the

defendants did not move for a more definite statement under Federal Rule of

Civil Procedure 12(e) or otherwise assert that they were having difficulty

knowing what they were alleged to have done and why they were liable for

doing it”). Furthermore, “failure to specify a particular defendant is not

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fatal...when ‘[t]he complaint can be fairly read to aver that all defendants are

responsible for the alleged conduct.’...While defendants may disagree that such

allegations are accurate, that dispute is for another day.” S.Y. v. Holiday Hosp.

Franchising, LLC, No. 2:20-cv-624-JES-MRM, 2021 U.S. Dist. LEXIS 85011,

at 5 (M.D. Fla. 2021) (citing Kyle K. v. Chapman, 208 F.3d 940, 944 (11th Cir.

2000)).

      In this case, Mr. Canning’s complaint properly states which supervisory

defendants are sued for which counts, and provides straightforward bases on

which each claim is grounds for the relief sought. Specifically, Defendants

Bobbitt, Edwards, Ward, and Sauls (Defendants 3, 5, 6, and 10 in the complaint)

are sued in their supervisory capacities where they were aware of the substantial

risk posed by Defendant Olowsky and for violating their duties to prevent

Defendant Olowsky from denying Mr. Canning emergency healthcare in Count

II. Compl. at ¶ 105-106. Defendants Bobbitt, Wicker, Ward, Holt, Toole, and

Shepard (Defendants 3, 4, 6, 7, 8, and 9 in the complaint) are sued in their

supervisory capacities where they were aware of the substantial risk that

Defendant Jackson posed to prisoners at Georgia State Prison and for violating

their duty to take reasonable steps to prevent Defendant Jackson from leaving

Mr. Canning to die in solitary confinement. Id. at ¶ 109-111. The same

supervisory Defendants are further sued for their awareness of the general lack




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of safety in the prison and for violating their duty to take reasonable steps to

address them in Count IV. Id. at ¶ 114-115.

      The alleged basis for supervisory authority is spelled out clearly, per

defendant, at Compl. ¶ 5-14. Defendant Olowsky’s misconduct is spelled out

explicitly in Factual Allegations – Section B (Id. at ¶ 28-38). Defendant

Jackson’s misconduct is described in detail in Factual Allegations – Section C

(Id. at ¶ 39-46). The Defendants’ more general disregard for the lack of safety

and medical care in Georgia State Prison is indicated in Factual Allegations –

Section E, and in turn divided by subsections describing Attacks and Killings

(Id. at ¶ 62-65); Access to Weapons (Id. at ¶ 66-75); Insufficient Movement

Restrictions (Id. at ¶ 76-81); Understaffing (Id. at ¶ 82-87); Indifference to

Medical Needs Generally (Id. at ¶ 88-89); and Indifference to Medical Needs in

Segregation or Solitary Confinement (Id. at ¶ 90-97).

      Defendants’ assertion that the complaint is improperly pled where several

paragraphs refer to the Defendants’ awareness or responsibility collectively is

misplaced, where these paragraphs can be fairly interpreted to apply to all

Defendants. Indeed, that paragraphs cited by Defendants (ECF Dkt. 14 citing

Compl. ¶¶ 60, 62, 66, 67, 80, 82, 88, 90) all refer to matters that are alleged to

be generalized and obvious and therefore that all Defendants were aware of the

allegations therein.




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      In sum, Defendants’ argument that the complaint is insufficient per Fed.

R. Civ. P. 8 or 10 must be rejected.

B) Plaintiff Properly States Claims Upon Which Relief Can Be Asserted.

      Defendants assert that Mr. Canning’s complaint fails to state a claim for

supervisory liability where the allegations in question are “too conclusory to

state a claim” and “[t]he actual facts asserted in the complaint do not amount to

widespread abuse.” ECF Dkt. 14 at 4-5. Defendants further assert that the

complaint is insufficient to establish a valid claim for a history of widespread

abuse where the timeline of alleged incidents and omissions and related prior

litigation are mostly subsequent to Mr. Canning’s attack and could not have put

Defendants on notice; where none of the alleged incidents or omissions are

specific to the weapon used against Mr. Canning; where prior litigation was

mostly not directed at the specific Defendants themselves; and where prior

litigation and/or complaints lodged were not necessarily resolved in

complainants’ failure. ECF Dkt. 14 at 3-7. But Defendants’ assertions are

selective with regard to the facts alleged in the complaint and, in any case, is

incorrect as to the legal standard for surviving a 12(b) motion.

      At this stage in the litigation, Mr. Canning need only assert “a short and

plain statement” of the claims for which he seeks relief, and that this plain

statement be “facially plausible” and “give the defendant fair notice of what

the...claim is and grounds upon which it rests.” Erickson v. Pardus, 551 U.S. 89,

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93 (2007). Such a complaint should not be dismissed where there is enough

factual detail to support “a reasonable expectation that discovery could supply

additional proof of...liability.” Chaparro v. Carnival Corp., 693 F.3d 1333, 1337

(11th Cir. 2012).

      To state a claim for supervisory liability over a subordinate’s

constitutional deprivation, a complainant must assert a causal connection

between the supervisory official’s actions and the alleged deprivation. See

Wilson v. Attaway, 75 F.2d 1227, 1241 (11th Cir. 1985). Among the ways to

establish such a causal connection is where “a history of widespread abuse puts

the official on notice”. Id. See also Fundiller v. Cooper City, 777 F.2d 1436,

1443 (11th Cir. 1985). A complainant can show awareness of such widespread

abuse by citing “force reports and similar documents, inmate complaints, jailer

complaints, attorney complaints, judicial officer complaints, and personal

observation” regarding the abuses. Danley v. Allen, 540 F.3d 1298, 1305 (11th

Cir. 2008). Supervisory officials’ subjective awareness of a “generalized,

substantial risk of serious harm,” without regard to specific risks of

constitutional violations, such as knowing “precisely who would attack whom”

is enough to establish that supervisors are on notice of the need for remedial

action. Hale v. Tallapoosa Cty., 50 F.3d 1579, 1583 (11th Cir. 1995).

      Mr. Canning’s complaint properly states claims for supervisory liability. It

cites “[t]he widespread presence of knives and other weapons inside Georgia

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State Prison, lack of functioning security measures, insufficient staff to prevent

violent attacks using these weapons, disregard of serious medical issues,

understaffing of solitary confinement cells, and abandonment of individuals 10

with serious conditions to the point of death in solitary confinement” as

indicators of a widespread history of abuse, and cites “prior litigation, media

reports, audits carried out by various state entities of Georgia State Prison, an

investigation by the federal Department of Justice, and research reports from

advocacy organizations” as grounds to establish notice in conjunction with

“documents not currently available to Plaintiff but held by Defendants,

including but not limited to inmate grievances, situation reports, institutional

offender files, and informal reports from officers” through the discovery

process. Compl. at ¶59-61; see also Background, infra highlighting and

expanding on each of these allegations and sources.

      Contrary to Defendants’ allegations, these allegations at minimum

establish the plausibility of widespread abuse. Where Defendants assert that

these incidents are insufficient in number where “only” five people were

murdered and only a handful of medical indifference cases were cited, Plaintiff

assert both that these incidents, in their totality, constitute a widespread problem

alone, but are at least enough to plausibly assert the existence of more such

incidents. This is sufficient under Chaparro, Id.




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      Contrary to Defendants’ insinuation that these allegations are insufficient

where they are based on indicators of abuse that began after Mr. Canning’s

attack, many of the allegations address problems that had been ongoing for

years. The complaint alleges widespread access to weapons as early as 2014

(Compl. At ¶ 69); documented and chronic failure to log tool use as early as

2018 (Id. At ¶ 70-72), the lack of contraband controls as early as 2019 (Id. At

¶73), lack of movement controls documented in an audit in 2019 (Id. At ¶ 78),

litigation regarding lack of movement controls as early as 2015 (Id. At ¶ 80),

NGO documentation of a lack of functioning cell door locks as early as 2014

(Id. At ¶ 81), reports of understaffing as early as 2019 (Id. At ¶ 84), lawsuits

from as far back as 2016 regarding medical disregard (Id. At ¶ 89), and reports

of lack of proper supervision of solitary confinement units as early as 2018 (Id.

At ¶ 91). While some of the incidents or indicators of misconduct discussed

took place after Mr. Canning’s assault, such as the spate of murders, the

complaint properly alleges numerous signs of prior disregard for inmate safety

and medical needs and a greater factual record may establish that these patterns

of misconduct, including non-fatal attacks, that stretch back to before Mr.

Canning’s assault.

      Furthermore, where the complaint is premised on allegations of

generalized risks based on the kinds of documents cited in Danley, and with

intent to further substantiate these claims through discovery with more such

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documentation, Defendants’ remaining bases to challenge sufficiency collapse.

Where Mr. Canning asserted bases that indicate, at minimum, the plausible

widespread presence of weapons and the disregard of contraband controls, no

allegation of where Psycho’s knife came from – without conceding Defendants’

implication that it could not have been fashioned from unsupervised tools – is

necessary. And contrary to Defendants’ argument, where Mr. Canning has cited

the kinds of documents referenced in Danley and similar litigation, there is no

need that any cited litigation be successful; where the litigation asserts the

plausibility of widespread abuse in the form of generalized risks, the underlying

alleged abuses are enough to establish notice regardless of which officials were

sued.

C) Defendants Are Not Entitled to Qualified Immunity.

        A complaint is generally sufficient if permits a “reasonable inference”

that a defendant violated clearly established rights. See Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009); see also Owens v. Baltimore City State’s Attorneys

Office, 767 F.3d 379, 396 (4th Cir. 2014) (“A qualified immunity defense can be

presented in a Rule 12(b)(6) motion, but...when asserted at this early stage in

the proceedings, ‘the defense faces a formidable hurdle’ and ‘is usually not

successful.’”).

        Defendants’ argument that they are entitled to qualified immunity is

premised on the notion that no constitutional violation has been properly alleged

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at all, let alone one which is “clearly established”. But as discussed in Section

B, supra, Mr. Canning at minimum plausibly asserts that Defendants violated

his rights in their supervisory capacities by disregarding constitutional

violations of their subordinates. Defendants do not address whether or not the

supervised defendants – unrepresented here – violated their constitutional

duties. Nonetheless, it is well established that these subordinates had a

constitutional duty not to be deliberately indifferent to serious threats to Mr.

Canning’s safety or to his serious medical needs. See Farmer v. Brennan, 511

U.S. 825 (1994). Where Mr. Canning has properly asserted supervisory claims

against Defendants under clearly established law, Defendants’ qualified

immunity defense necessarily fails.

                                 CONCLUSION

Defendants’ Motion to Dismiss should be denied.



Respectfully submitted this 6th Day of May, 2022.

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                        CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically submitted the foregoing

RESPONSE TO DEFENDANTS’ MOTION TO DISMISS to the Clerk of Court

and all counsel of record via the ECF system.

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This 6th day of May, 2022.

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